                            Case 5:19-cv-03125-SVK Document 5 Filed 06/05/19 Page 1 of 1
*"iAO 440 (Rev. 8 01) Summons in a Civil Action



                                        United States District Court
                             Northern                          District of                    California


                            Cecilia Mangaoang                                                               ^
                                                                             SUMMONS IN ACiykM^^ON
                        V.
        SPECIAL DEFAULT SERVICES, INC.; et al.


                                                                      CASE NUMBER:


                                                                             C 19 03125
                                                                                                           VKD
                      TO: (Name and address of Defendant)

                              Special Default Services, Inc.
                              MARISOL NAGATA, Registered Agent
                              17100 GILLETTE AVENUE
                              IRVINE CA 92614




          YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF'S ATTORNEY (name and address)
                               Cecilia Mangaoang
                               1765 Landess Ave, PMB #323
                               Milpltas. CA 95035




an answer to the complaintwhich is served on you with this summons, within                21            days after service
of this summons on you. exclusive of the day of service. If you fail to do so,judgment by default will be takenagainstyou
for the relief demanded in the complaint. Any answer that you serve on the parties to this action must be filed with the
Clerk of this Court within a reasonable period of time after service.




                              SUSAN Y. SOONG
                                                                               JUN 0 5 2019
CLERK             _     .                                             DATE
                  Betty J. Walton
(By) DEPflTY Cl.l-.RK
